Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 1 of 6
Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 2 of 6
Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 3 of 6
Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 4 of 6
Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 5 of 6




  9-27-2021
Case 2:20-cv-01624-GMN-VCF Document 124 Filed 09/27/21 Page 6 of 6
